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MONTAGUE v. YALE UNIVERSITY                                                                  March 23, 2017

                                                                                                     Page 1
           UNITED STATES DISTRICT COURT


           DISTRICT OF CONNECTICUT




                                                                  X
           JACK MONTAGUE,                                         •
                                                                  •
                               Plaintiffs,

                    -versus-               : CIVIL ACTION
                                           : No. 3:16-cv-00885-AVC
           YALE UNIVERSITY, ANGELA GLEASON :
           and JASON KILLHEFFER,           •
                                           •
                      Defendants




                               Deposition of                  Jane Roe    , taken pursuant
                      to Rule 30 of the Federal Rules of Civil Procedure,
                      held at the law offices of Jacobs and Dow, LLC,
                      350 Orange Street, New Haven, Connecticut, before
                      Rosanne LaBonia, LSR 249 and Notary Public in and
                      for the State of Connecticut, on March 23, 2017, at
                      12:10 P.M.




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    2
    3                            ATTORNEY FOR PLAINTIFFS:
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                                 One Federal Street
    5                            Boston, MA 02110
                                 BY: ALEXANDRA DEAL, ESQUIRE
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                                 DONAHUE, DURHAM & NOONAN
    9                            741 Boston Post Road
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  10                             BY: PATRICK NOONAN, ESQUIRE
  11
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  13                            One State Street, Suite 1800
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  14                            BY: JAMES M. SCONZO, ESQUIRE
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    1                                     STIPULATIONS
    2
    3                  IT IS HEREBY STIPULATED AND AGREED by and between
    4       counsel for the respective parties hereto that all
    5       technicalities as to proof of the official character
    6       before whom the deposition is to be taken are waived.
    7                  IT IS FURTHER STIPULATED AND AGREED by and
    8       between counsel for the respective parties hereto that
    9       the reading and signing of the deposition by the
  10        deponent are waived.
  11                   IT IS FURTHER STIPULATED AND AGREED by and
  12        between counsel for the respective parties hereto that
  13        all objections, except as to form, are reserved to the
  14        time of trial.
  15
  16                                                   * * * * *

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    1                              Jane Roe

    2       having been first duly sworn by Rosanne LaBonia, a
    3       Notary Public in and for the State of Connecticut,
    4       testified on her oath as follows:
    5       DIRECT EXAMINATION
    6       BY MS. DEAL:
    7                  Q        Good morning,                 Jane Roe   .

    8                  A        Hi.
    9                  Q        You understand that you're here for a
  10        deposition in a case that Jack Montague has brought
  11        against Yale University and two individual defendants,
  12        Angela Gleason and Jason Killheffer?
  13                   A        Yes.
  14                   Q        And you understand you're not a party to
  15        this case.
  16                   A        Yes.
  17                   Q        You're not being sued.
  18                   A        Right, yes.
  19                   Q        Have you ever been deposed before?
  20                   A        No.
  21                   Q        So let me just explain a little bit about
  22        some ground rules.                    When I ask you a question, if you
  23        could please give a verbal response rather than nodding
  24        your head or shaking your head because the stenographer
  25        needs to be able to take down the words that you say.


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            sensitivity training, correct?
                       A        Mm-hmm.
    3                  Q        And you learned that from Ms. Gleason.
    4                  A        Yes.
                       Q        And after you learned that from Ms.
    6       Gleason, you no longer believed that it was a one-time
    7       mistake, is that right?
    8                  A        Yeah.
    9                  Q        I'd also like to direct your attention, if
            you can just turn the page to page nine, the first
            paragraph.
                       A        In the fact finder's report?
    3                  Q        Yes, I apologize, in the fact finder's
  14        report.          So we're looking again at Exhibit 13, on page
  15        nine, and if you look at the last sentence of that
  16        paragraph it says, "She was especially motivated to
  17        participate in the investigation and hearing process
  18        after she heard that Mr. Montague had already had
  19        another complaint against him, as she felt it was
  20        important to protect other women."                Do you see that?
  21                   A        Mm-hmm, yes.

  22                   Q        Do you recall telling Ms. Berkman that you
  23        were motivated to participate in the investigation and
  24        hearing process because you heard that Mr. Montague had
  25        already had another complaint against him?


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    1                  A         No, I didn't say that to Miriam.
    2                  Q         So you say you did not say that to Ms.

    3       Berkman.
    4                  A        No.
    5                  Q         Sorry, we're just looking for something.
    6                  A         Okay.
    7                  Q        Again, you've reviewed the fact finder's
    8       report, right?
    9                  A        Yes.
  10                   Q        And you reviewed it for accuracy, is that
  11        right?
  12                                        MR. NOONAN:       Objection.

  13                   A        Yes.
  14                   Q        You understood that if anything in it was

  15        inaccurate you could correct that at the panel hearing,
  16        right?
                       A        Yes, in my opening statement.
  18                   Q        So that was your understanding, is that if
  19        anything was wrong in the fact finder's report, the
  20        opening statement was your opportunity to correct that
  21        inaccuracy.
  22                   A        Yes, because Miriam told me that she was

  23        going to get stuff wrong, and that it's one person
  24        compiling a report taking perspectives of so many
  25        people and just -- I mean, I'm an anthropology major,


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    1       statement because that's not what happened.
    2                  Q        But you didn't correct that in the opening
    3       statement.            You didn't say in the opening statement, "I
    4       was never told there was a former complaint against
    5       him," right?
    6                                       MR. NOONAN:          Objection.

    7                  A        I didn't say it explicitly, but my
    8       conversation with Angie is described correctly in my
            opening statement.
  10                   Q        And you said that Ms. Berkman said she gets
  11        a lot of information and she might make mistakes,
  12        right?
  13                   A        She said it's natural that mistakes will be
  14        made.
  15                   Q        She's human.
  16                   A        Yes.
  17                   Q        I'd like to read to you Ms. Berkman's
  18        comment on the sentence that I just read to you.
  19        Ms. Berkman's comment is:                         "This is an accurate
                                                  Jane Roe
  20        description of what                          told me about her motivation and
  21        her decision making about participating in this case."
  22                                        MR. SCONZO:          I'm going to object.        If

  23                             you're going to argue with her about what
                             Jane Roe
  24                                  told the fact finder, she's not going to
  25                            answer those questions.                We didn't come


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